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                               UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF NEW YORK


ADMI INC, TARSIN MOBILE INC., by their                 Case No.22-9339/ALC
CEO, JOSEPH R. CELLURA and JOSEPH R.
CELLURA, Individually,
                                                       Plaintiffs’ Cross Motion Fed R. Civ. P. 4(m)
                              Plaintiffs,              and for Judicial Discovery of Personal
             VS.                                       Jurisdiction and Venue Fed R. Civ P. 13(a).

ALLEN D. MOYER, ADMI INCORPORATED,
AND DOES 1-2,
                     Defendants.


       COMES NOW Plaintiffs, ADMI INC., TARSIN MOBILE INC., and JOSEPH R.

CELLURA by and through the Law Offices of Douglas R. Dollinger, PC, Counsel of Record in

Response to the above-named Defendants ALLEN D. MOYER ADMI INCORPORATE and

DOES 1-2, to their Motion for Dismissal pursuant to Fed. R. Civ. P 12(b)(2) & 12(b)(5) and for

Plaintiffs’ Cross Motion to Enlarge the Time to Serve Process for Good Cause pursuant to Fed R.

Civ. P. 4(m) & LR-6; For Jurisdictional Discovery on the question of Venue and under the First-

Filed-Rule pursuant Fed. R. Civ. P. 13(a) in response to their action filed in the Northern District

of California (23-cv-03004-SVK.) after Plaintiff’s Complaint was filed before this Court, and to

the subsequent amendment of their Summons and Complaint. (Dkt-5, 27-2, 48).

Dated: September 25, 2023
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